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                Exhibit 2
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US7791741B2
Priority Date: 4/8/2005
Expiration Date: 9/7/2018 (fee).
EOU: March 2016
https://web.archive.org/web/20160204104205/https://www.syncplicity.com/




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                                cts-in-action/
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                                sers

1. A method for                 The accused product, Syncplicity by Axway, provides a method for synchronizing a
synchronizing a second          second process (e.g., a Syncplicity by Axway process, such as a desktop app or a mobile
process to a first process,     app on a device that has been offline) to a first process (e.g., the Syncplicity by Axway
wherein state data              process on the Syncplicity by Axway cloud server) wherein state data (e.g., state
regarding input to and          information of files in the Syncplicity by Axway folder) regarding input to and output of a
output of a model of the        model of the first process (e.g., any changes made by the other devices to the files in the
first process is available to   folder in the cloud – input, and the changes that need to be synced with the offline device –
the second process after a      output) is available to the second process after a delay period (e.g., offline period).
delay period, the method
comprising:
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      cts-in-action/
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beginning a data collection   The accused product provides a method of beginning a data collection period (e.g., when
period;                       the offline device is online again, Syncplicity by Axway begins a data collection period to
                              compare what changed on the server with what changed to the files on the offline device,
                              and then continuing to compare information until the offline device is in-sync with what
                              the server deems to be correct at that time)
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receiving delayed state data   The accused product provides a method of receiving delayed state data points (any changes
points regarding the input     made to the files during the offline period) regarding the input to (e.g., state information of
to and output of the model     all of the files to be synced including new files, deleting files, and updated files from the
by a controller of the         server) and output of the model (e.g., state information of files that were changed on the
second process;                offline device during the offline period) by a controller (e.g., the Syncplicity by Axway
                               client) of the second process (e.g., the previous offline device)
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storing the delayed state     The accused product provides a method of storing the delayed state data points received
data points received during   during the data collection period (e.g., data points received during data collection is stored
the data collection period;   on both the previously offline device and the server as appropriate to bring things “in
                              sync”. This can be inferred by the evidence that the content updates are automatically
                              pushed/synced while changes are made by any device in any state, thus state can be
                              offline/ online.)
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ending the data collection     The accused product provides a method of ending the data collection period after receiving
period after receiving and     and storing delayed state data that represents the state of the input to and output of the
storing delayed state data     model at a point in time after the beginning of the data collection period (e.g., the system
that represents the state of   ends data collection when files on the previously offline device and the server are “in
the input to and output of     sync”. e.g., if some changes to the files are made after the offline device is online again,
the model at a point in time   these changes would automatically be updated on the device and the server, data collection
after the beginning of the     period is for gathering changes made offline.)
data collection period;
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determining a current state    The accused product provides a method of determining a current state of the model of the
of the model of the process    process based on at least some of the stored state data points and predetermined
based on at least some of      information regarding a behavior of the state of the model (e.g., the system monitors
the stored state data points   current state of syncing based on data points in that it knows what needs to be done (the
and predetermined              changes that need to be made on both server and device) to sync.
information regarding a
behavior of the state of the
model; and
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      cts-in-action/
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                                 sers

setting a current state of the   The accused product provides a method of setting a current state of the second process
second process according         according to the determined current state of the model, thereby synchronizing the second
to the determined current        process to the first process (e.g., the previously offline device is synced with Syncplicity
state of the model, thereby      by Axway server).
synchronizing the second
process to the first process.
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      cts-in-action/
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